    Case 2:19-cv-02208-EEF-DMD Document 16-1 Filed 04/26/19 Page 1 of 10




                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA


AUTUMN MONTGOMERY         *                              CIVIL ACTION
                          *                              NO. 19-02208
            Plaintiff,    *
                          *
VERSUS                    *                              SECTION “L”
                          *                              JUDGE FALLON
WAITR HOLDINGS, INC.      *
                          *
            Defendant.    *                              MAG. DIV. (3)
                          *                              MAG. JUDGE DOUGLAS
***************************

                         MEMORANDUM IN SUPPORT OF
                  MOTION TO COMPEL ARBITRATION AND DISMISS
                     NAMED PLAINTIFF NATESHUS JACKSON

       Defendant, Waitr Holdings Inc. (“Waitr”), respectfully submits this Memorandum in

Support of its Motion to Compel Arbitration of the individual claims asserted by named plaintiff,

Nateshus Jackson. Mr. Jackson is not the only plaintiff subject to an arbitration agreement with

Waitr, but he is the only named plaintiff subject to an arbitration agreement. Given the current

procedural posture of this case and continued joining of opt-in plaintiffs, this Motion does not

seek the dismissal of opt-in plaintiffs subject to arbitration agreements, but Waitr specifically

reserves its right to compel the arbitration of claims asserted by opt-in plaintiffs, as well as all

other rights and defenses it may have with respect to the opt-in plaintiffs, subject to conditional

certification and/or further guidance of the Court.

                                  INTRODUCTORY STATEMENT

       Waitr is a technology company that operates an online food order and delivery platform

that allows its patrons to utilize a mobile or desktop application to order food and have it
     Case 2:19-cv-02208-EEF-DMD Document 16-1 Filed 04/26/19 Page 2 of 10




delivered from participating restaurants. Mr. Jackson is an independent contractor who worked

for Waitr between January 2017 and September 2018.1 In connection with and in consideration

for his engagement with Waitr, Mr. Jackson signed an Acknowledgement of his receipt of the

Independent Contractor and Software License Agreement (the “Agreement”), which includes,

among other things, an agreement to resolve in arbitration any and all legal claims or disputes

arising from or related to his business with Waitr and to arbitrate those disputes on an individual

basis.2 Notwithstanding this agreement, Mr. Jackson joined this lawsuit as a named plaintiff,

alleging violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq. (“FLSA”),3 and

seeking to represent a collective of similarly situated workers.4

        It is now undisputed that arbitration agreements providing for individualized arbitration

proceedings are enforceable. Epiq Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1616 (2018) (“Congress

has instructed in the Arbitration Act that arbitration agreements providing for individualized

proceedings must be enforced, and neither the Arbitration Act's saving clause nor the NLRA

suggests otherwise.”). The Supreme Court’s ruling in Epiq Systems removes any doubt as to the

enforceability of Mr. Jackson’s Agreement with Waitr. Accordingly, pursuant to that Agreement

and the Federal Arbitration Act, 9 U.S.C. §§ 1-16 (“FAA”), Waitr requests that the Court issue

an Order compelling Mr. Jackson to arbitrate his claims against Waitr on an individual basis, and

dismissing Mr. Jackson’s claims from the pending Supplemental and Amending Complaint

        1
            Supplemental and Amending Complaint (Doc No. 3), ¶ 15-1.
        2
          See Declaration of Janine B. Hebert, dated April 26, 2019, attached hereto as Exhibit “1,” at Tab “A” (Mr.
Jackson’s Independent Contractor and Software License Agreement, dated Oct. 5, 2016 (hereinafter “Agreement”)).
        3
            Supplemental and Amending Complaint (Doc No. 3), ¶ 1.
        4
            Id. at ¶ 22-1.


                                                         2
    Case 2:19-cv-02208-EEF-DMD Document 16-1 Filed 04/26/19 Page 3 of 10




(Doc. No. 3).         Waitr further requests that the Court order Mr. Jackson to pay reasonable

attorneys’ fees and costs in connection with this Motion.5

                                I.        RELEVANT FACTUAL BACKGROUND

       Waitr’s platform provides on-demand lead generation and related services that enable

delivery providers, such as Mr. Jackson, to seek, receive, and fulfill on-demand requests for food

delivery services by application users.6 Waitr operates and maintains offices in Lake Charles

and Lafayette, Louisiana and currently serves customers in over a dozen states.7 On or about

October 5, 2016, Waitr engaged Mr. Jackson as an independent contractor to provide delivery

services using Waitr’s delivery application in and around Baton Rouge, Louisiana.8 Between

January of 2017 and September of 2018, Mr. Jackson provided delivery services to customers

through Waitr’s online platform.9

       A.          Mr. Jackson’s Agreement with Waitr
                   to Arbitrate His Claims on an Individual Basis

       Also on or about October 6, 2016, Mr. Jackson signed an Acknowledgment,

acknowledging his acceptance of the terms and conditions of the Agreement.10 Pursuant to

Article XV of the Agreement, Mr. Jackson and Waitr agreed that “any and all” legal claims or

disputes arising out the Agreement must be “submitted to confidential, binding arbitration before


       5
           See Ex. “1,” at Tab “A,” Agreement, at p. 19.
       6
           Id. at p. 2.
       7
           https://waitrapp.com/cities.
       8
           See Ex. “1,” at Tab “A,” Agreement.
       9
           Supplemental and Amending Complaint (Doc. No. 3), at ¶ 15-1.
       10
            See Ex. “1,” at Tab “A,” Agreement, at p. 22.


                                                            3
    Case 2:19-cv-02208-EEF-DMD Document 16-1 Filed 04/26/19 Page 4 of 10




the American Arbitration Association….”11 The Agreement further provides that arbitration

shall be “THE SOLE AND EXCLUSIVE REMEDY FOR ANY DISPUTES BETWEEN [Waitr

and Mr. Jackson].”12 Finally, both Waitr and Mr. Jackson agreed that:

       BY ENTERING INTO THIS AGREEMENT, THE PARTIES UNDERSTAND
       AND ACKNOWLEDGE THAT EACH MAY ONLY PURSUE CLAIMS
       AGAINST EACH OTHER ON AN INDIVIDUAL BASIS, AND THEY WAIVE
       ANY RIGHT TO PURSUE ANY CLAIM AGAINST EACH OTHER IN A
       CLASS OR COLLECTIVE ACTION OF ANY KIND AND IN ANY FORUM.13

Stated another way, Mr. Jackson specifically agreed that any disputes related to his contract with

Waitr would proceed via individualized arbitration only.

       B.          Despite His Agreement to Individualized Arbitration, Mr. Jackson Files Suit
                   Alleging Violations of the FLSA and Seeks Collective Treatment for His Claims.

       On March 12, 2019, Mr. Jackson joined co-plaintiff, Autumn Montgomery, (collectively

“Plaintiffs”) in bringing the Supplemental and Amending Complaint (Doc. No. 3). As set forth

in the Complaint, Plaintiffs allege that Waitr failed to pay them and “similarly situated Drivers”

the minimum wage14 and/or overtime compensation for hours worked over 40 per workweek,15

all in violation of the FLSA. Plaintiffs seek as damages alleged unpaid minimum wages,

overtime pay, damages, penalties, attorney fees, expenses, and injunctive relief under the FLSA

and state law.16


       11
            Ex. “1,” at Tab “A,” Agreement, p. 18.
       12
            Id. at p. 19 (emphasis in original).
       13
            Id. (emphasis in original).
       14
            Supplemental and Amending Complaint (Doc. No. 3), at ¶¶ 15-1, 15-7, 22-1, and 22-2.
       15
            Id. at ¶¶ 26-1, 33-1, and 33-2.
       16
            Id. at ¶ 1.


                                                        4
    Case 2:19-cv-02208-EEF-DMD Document 16-1 Filed 04/26/19 Page 5 of 10




       Plaintiffs’ claims falls squarely and expressly within the scope of Mr. Jackson’s

Agreement with Waitr. Pursuant to his Acknowledgment of the Agreement, Mr. Jackson agreed

to resolve his claims against Waitr in arbitration, on an individual basis.

                                        II.      LAW AND ARGUMENT

       A.         The Court Should Compel Individualized Arbitration of Mr. Jackson’s Claims.

       Mr. Jackson’s Agreement with Waitr expressly is “governed by the Federal Arbitration

Act (9 U.S.C. §§ 1-16).”17            Pursuant to Section 2 of the FAA, “a contract evidencing a

transaction involving commerce to settle by arbitration . . . shall be valid, irrevocable, and

enforceable, save upon such grounds as exist at law or in equity for the revocation of any

contract.” Id. at § 2. Courts employ a two-step inquiry to determine whether a party should be

compelled to arbitrate, considering: (1) whether the parties agreed to arbitrate the dispute; and

(2) whether any legal restraints, external to the parties’ agreement, foreclose arbitration of the

claims. E.g., Tittle v. Enron Corp., 463 F.3d 410, 418 (5th Cir. 2006) (citing Mitsubishi Motors

Corp. v. Soler Chrysler-Plymouth, 473 U.S. 614, 628 (1985)). In this case, Waitr and Mr.

Jackson clearly agreed to the individualized arbitration of Mr. Jackson’s FLSA claims, and there

is no external legal restraint rendering their agreement unenforceable.

                  1.       The Parties Agreed to Arbitrate Mr. Jackson’s Claims.

       The question of whether parties agreed to arbitrate a dispute involves two determinations:

(1) whether there is a valid agreement to arbitrate, and (2) whether the dispute in question falls

within the scope of that agreement. E.g., Tittle, 463 F.3d at 418-19. Any doubts concerning the




       17
            Ex. “1,” at Tab “A,” Agreement , p. 19.


                                                      5
    Case 2:19-cv-02208-EEF-DMD Document 16-1 Filed 04/26/19 Page 6 of 10




arbitrability of a claim must be resolved in favor of arbitration. E.g., Wash. Mut. Fin. Grp., LLC

v. Bailey, 364 F.3d 260, 263 (5th Cir. 2004) (internal citations omitted).

       Mr. Jackson’s Agreement with Waitr clearly constitutes an agreement to arbitrate:

“CONTRACTOR AND COMPANY ACKNOWLEDGE AND AGREE THAT ARBITRATION

IN ACCORDANCE WITH THIS SECTION SHALL BE THE SOLE AND EXCLUSIVE

REMEDY FOR ANY DISPUTES BETWEEN THEM, AND THEY WAIVE THE RIGHT TO

A TRIAL BY JURY OF ANY KIND IN ANY FORUM.”18                                 Mr. Jackson signed the

Acknowledgement agreeing to its terms.19 Therefore, there is a valid agreement to arbitrate.

       Mr. Jackson’s claims in this suit also fall squarely and expressly within the scope of the

parties’ agreement to arbitrate: “If Contractor or Company has a legal claim or dispute against

the other for violation of this Agreement for any dispute whatsoever relating to the consulting

services or other related business between them (other than for disputes regarding the intellectual

property rights of the parties), any and all such claims (as well as claims concerning the

arbitrability of such claims) will be submitted to confidential, binding arbitration….” 20 This

matter specifically focuses on the compensation Mr. Jackson received pursuant to this

Agreement thus is subject to the parties’ agreement to arbitrate.

       Additionally, to the extent Mr. Jackson disputes whether his claims are subject to

arbitration, that issue also must be submitted to arbitration. The Supreme Court has held that

“[w]hen the parties’ contract delegates the arbitrability question to an arbitrator, a court may not


       18
            Id. (emphasis in original).
       19
            See id. at p. 20.
       20
            Id. at p. 18.


                                                 6
    Case 2:19-cv-02208-EEF-DMD Document 16-1 Filed 04/26/19 Page 7 of 10




override the contract.” Henry Schein, Inc. v. Archer & White Sales, Inc., 139 S. Ct. 524, 529

(2019). Mr. Jackson’s Agreement with Waitr explicitly states that “any and all claims” includes,

without limitation, “claims concerning the arbitrability of such claims.”21 Mr. Jackson’s claims

belong in arbitration.

                      2.     Plaintiff’s Waiver of Collective Treatment is Enforceable.

       Prior to the Supreme Court’s decision in Epiq Systems, Mr. Jackson might have argued

that the class and collective action waiver contained in his Agreement rendered the Agreement’s

provision for arbitration unenforceable – that is, that the waiver constitutes “grounds . . . at law

or in equity for the revocation” of the arbitration agreement. 9 U.S.C. § 2. In Epiq Systems,

however, the Supreme Court decisively rejected that argument, holding that individualized

arbitration of FLSA claims is not grounds for revocation under the so-called “savings clause” of

the FAA, and further does not offend the National Labor Relations Act, 29 U.S.C. §§ 151-159

(“NLRA”). Nor does the Agreement’s class and collective action waiver offend the FLSA itself

– a longstanding precedent reaffirmed in Epiq Systems. Id. at *10.

       In short, there are no external, legal restraints foreclosing individualized arbitration of

Mr. Jackson’s claims. The Court should compel arbitration of Mr. Jackson’s claims pursuant to

the terms of the Agreement between the parties.

       B.             The Court Should Dismiss Mr. Jackson’s Claims from the Collective
                      Action Complaint and Award Waitr Costs and Attorneys’ Fees Incurred.

       When all issues raised in an action are subject to arbitration, the proper course is for the

Court to dismiss, rather than merely stay, the action. Ruiz v. Donahoe, 784 F.3d 247, 250 n.13


       21
            See id.


                                                      7
    Case 2:19-cv-02208-EEF-DMD Document 16-1 Filed 04/26/19 Page 8 of 10




(5th Cir. 2015); Alford v. Dean Witter Reynolds, Inc., 975 F.2d 1161, 1164 (5th Cir. 1992); see

also, e.g., Gonzales v. Brand Energy & Infrastructure Servs., Inc., No. 12-1718, 2013 WL

1188136, at *5-6 (S.D. Tex. 3/20/13). Although this Court may decide to allow this lawsuit to

proceed as to the other named plaintiff, Autumn Montgomery, dismissal of Mr. Jackson’s claims

is appropriate as all of his claims are subject to arbitration. See Collado v. J. & G. Transp., Inc.,

No. 14-80467, 2015 WL 1478609, at *8 (S.D. Fla. 3/31/15) (granting defendant’s motion to

compel and dismissing claims of plaintiffs who had signed arbitration agreements); see also

Lloyd v. J.P. Morgan Chase & Co., No. 11-9305, 2013 WL 4828588, at *6 (S.D.N.Y. 9/9/13),

aff'd in part, 791 F.3d 265 (2d Cir. 2015).

       In conjunction with the dismissal of Mr. Jackson’s claims, Waitr requests that the Court

award it costs and attorneys’ fees as provided in the Agreement, which states:

       In the event that Contractor or Company file a lawsuit against the other, notice of
       the existence of the arbitration agreement should be given to the other party, and
       if the lawsuit is not dismissed within ten (10) days from receipt of such notice, the
       party filing or prosecuting the lawsuit shall be liable for the other’s costs and
       attorneys’ fees incurred in dismissing the lawsuit.22

All of the requisite conditions are satisfied here. Mr. Jackson filed suit against Waitr despite his

agreement to arbitrate claims against Waitr. On April 17, 2019, Waitr informed Mr. Jackson’s

counsel of the existence of the Agreement acknowledged by Mr. Jackson and provided a copy

thereof.23 Mr. Jackson did not thereafter dismiss his claims, necessitating this Motion. Pursuant

to the Agreement, he should be liable for Waitr’s costs and attorneys’ fees incurred in connection

with this Motion.


       22
            Id. at p. 19.
       23
            See Letter from E. Howser to C. Zaunbrecher, dated Apr. 17, 2019, attached hereto as Exhibit “3.”


                                                         8
    Case 2:19-cv-02208-EEF-DMD Document 16-1 Filed 04/26/19 Page 9 of 10




       C.         Waitr Anticipates Moving to Compel Opt-In Plaintiffs Who
                  Likewise Agreed to Arbitrate Their Claims Against Waitr.

       As of this date, 7 plaintiffs have opted into this lawsuit, and Waitr anticipates that

additional individuals will continue to provide consents to join the case. Waitr maintains that at

least 4 of the opt-in plaintiffs who have filed consents to date agreed to arbitrate their claims,24

and that a significant portion of those who file consents moving forward likewise may be subject

to arbitration agreements. Given the procedural posture of this case, in the interests of judicial

efficiency and in deference to the Court’s management of this case as it sees fit and guidance as

to conditional certification briefing and otherwise, this Motion does not seek dismissal beyond

Mr. Jackson. But, although this Motion to Compel focuses only on Mr. Jackson, as he is a

named plaintiff, Waitr intends to move in short order to compel the arbitration of the claims

asserted by all opt-in plaintiffs also subject to arbitration agreements, both presently identified

and to be identified in the future. Waitr will defer to the Court as to how best to present the issue

of opt-in plaintiffs subject to arbitration agreements.

                                              III.     CONCLUSION

       The Agreement between Mr. Jackson and Waitr and applicable law are clear and

straightforward: the parties agreed to the individualized arbitration of Mr. Jackson’s claims, and

the class and collective action waiver contained in the Agreement is enforceable. For all of the

foregoing reasons, Waitr requests that the Court compel arbitration of Mr. Jackson’s individual

claims, and dismiss his claims from this action. Waitr reserves all rights and defenses it may

have with respect to present and future opt-in plaintiffs.


       24
            See List of Opt-In Plaintiffs Who Have Agreed to Arbitrate, attached hereto as Exhibit “4.”


                                                          9
   Case 2:19-cv-02208-EEF-DMD Document 16-1 Filed 04/26/19 Page 10 of 10




                                            Respectfully submitted,


                                            BAKER DONELSON BEARMAN
                                            CALDWELL & BERKOWITZ, PC


                                            BY:       s/ Erin Pelleteri Howser
                                                    STEVEN F. GRIFFITH, JR. (27232)
                                                    ERIN PELLETERI HOWSER, T.A. (30666)
                                                    KATHLYN G. PEREZ (30668)
                                                    LAURA E. CARLISLE (33760)
                                                    EMILY OLIVIER KESLER (37747)
                                                    201 St. Charles Avenue, Suite 3600
                                                    New Orleans, Louisiana 70170
                                                    Telephone: (504) 566-5200
                                                    Facsimile: (504) 636-4000
                                                    E-mail: sgriffith@bakerdonelson.com
                                                    E-mail: epelleteri@bakerdonelson.com
                                                    E-mail: kperez@bakerdonelson.com
                                                    E-mail: lcarlisle@bakerdonelson.com
                                                    E-mail: ekesler@bakerdonelson.com

                                            ATTORNEYS FOR DEFENDANT,
                                            WAITR HOLDINGS INC.



                               CERTIFICATE OF SERVICE

       I hereby certify that on the 26th day of April, 2019, I electronically filed the foregoing

with the Clerk of the Court using the ECF system, which sent notification of such filing to all

ECF participants.


                                                             s/ Erin Pelleteri Howser
                                                            ERIN PELLETERI HOWSER




                                               10
